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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



                                                            Civil Action No. 18-4772
  In re CELGENE CORPORATION
  SECURITIES LITIGATION                                             ORDER




 John Michael Vazquez, U.S.D.J.

         Presently pending before this Court is Defendants’ motion for summary judgment (D.E.

 244). The Court considered the parties submissions (D.E. 233, 245-49, 251-57) and heard oral

 argument on the motion via videoconferencing on September 7, 2023. For the reasons set forth

 on the record and for good cause shown,

         IT IS on this 8th day of September, 2023,

         ORDERED that Defendants’ motion for summary judgment (D.E. 244) is GRANTED in

 part and DENIED in part; and it is further

         ORDERED that summary judgement is DENIED as to Ms. Curran’s statements (April

 and July 2017); and it is further

         ORDERED that summary judgment is DENIED as to Mr. Martin’s statement (October

 2017); and it is further

         ORDERED that summary judgment is GRANTED as to Mr. Smith’s statements (April,

 July, and October 2017); and it is further
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         ORDERED that the Court DENIES without prejudice Defendants’ motion with respect

 to liability as to Celgene Corporation. Defendants are granted leave to reraise this issue with

 United States District Judge to whom this matter is reassigned;1 and it is further

         ORDERED that summary judgment is otherwise DENIED.



                                                         __________________________
                                                         John Michael Vazquez, U.S.D.J.




 1
  As noted on the record, the Court did not view this issue as being central to the parties’ arguments.
 To be sure, Defendants raised the issue in their moving brief. D.E. 245 at 61-66. And the Court
 endeavored to have an addendum opinion on the issue. However, upon conducting further
 research, the Court does not believe that it would be fair or equitable to the parties to rush a decision
 on a relatively complex issue. This is particularly so because it is not entirely clear to the Court
 which other statements, documents, or information are being contested. “Because corporations
 ‘do not have their own state of mind,’ corporate liability for securities fraud under Section 10(b)
 and Rule 10b-5 must flow from the corporation’s agents.” Roofer’s Pension Fund v. Papa, No.
 16-2805, 2023 WL 5287783, at *16 (D.N.J. Aug. 17, 2023) (quoting Smallen v. W. Union Co.,
 950 F.3d 1297, 1312 (10th Cir. 2020)). But precisely how this is done has not been squarely
 addressed by the Third Circuit. See id. at *16-18 (acknowledging that the Third Circuit has not
 accepted or rejected a corporate scienter theory and discussing various approaches to imputing
 corporate scienter that may apply at summary judgment). In the Court’s view, additional briefing
 on this issue would be extremely helpful to its resolution.
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